
569 S.W.2d 495 (1978)
L. L. S., Petitioner,
v.
STATE of Texas, Respondent.
No. B-7601.
Supreme Court of Texas.
July 26, 1978.
*496 David T. Lancaster and Steven P. Amis, Dallas, for petitioner.
Henry Wade, Dist. Atty., Maridell Templeton, Asst. Dist. Atty., Dallas, for respondent.
PER CURIAM.
The Application for Writ of Error is refused, "No Reversible Error." Rule 483, Texas Rules of Civil Procedure.
We note the further writing of the Court of Civil Appeals questioning its jurisdiction and directing that future appeals shall be governed by Rule 385. 565 S.W.2d 252. We disagree. As to this, we hold that the thirty-day period for the filing of the notice of appeal "as in civil cases generally," see Section 56.01(d) of the Family Code, is applicable to appeals from an order of the trial court waiving its exclusive jurisdiction and transferring the juvenile to a criminal district court for prosecution as an adult.
